                UNITED STATES BANKRUPTCY COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        NORTHERN DIVISION

  In The Matter Of:                                )
                                                   )
                                                   )
  WILLIAM BARRIER ROBERTS,                         )   Case No.: 18-83442-CRJ-7
                                                   )
           Debtor(s).                              )   Chapter 7
  ______________________________________

                         WITNESS AND EXHIBIT LIST

       Shannan League Roberts, creditor and party-in-interest in the above-styled

 bankruptcy case, respectfully submits this Witness and Exhibit List pursuant to the

 Scheduling and Trial Order issued on May 3, 2022 (Doc. 539):

                                    WITNESSES

       Shannan Roberts may call the following witnesses at the Trial:

 1.    Shannan Roberts

 2.    Charlotte Schlittler

 3.    John Watts

 4.    Celesta Freeman

 5.    Mark Kent

 6.    Melanie Murray

 7.    Rhett Murray

 8.    David Block




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 9.    Terri Nicholson Paxton

 10.   Bill Bee

 11.   Owens Roberts

 12.   Lee Ann Roberts

 13.   Tricia Roberts

 14.   Carol Horton

 15.   Mary Hartley

 16.   Justin Little

 17.   Alan Bibb

 18.   Kris Sexton

 19.   Cody Boswell

 20.   Scott Black

 21.   Alisa Black

 22.   Casie Mitchell

 23.   Alex Kyser Samples

 24.   Any witness needed for authentication of documents.

 25.   Any witness identified in witness lists by other parties of interest in this case.

                                       EXHIBITS



 1.    Any and all exhibits to depositions

 2.    Last Will and Testament of William Roberts




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 3.    Tax Returns of Shannan Roberts

 4.    Household bills of Shannan and William Roberts

 5.    SmartBank Records (f/k/a Southern Community Bank)

 6.    Tax Notices of Shannan and William Roberts

 7.    Department of Revenue Notices of Shannan and William Roberts

 8.    Letters, Emails and other correspondence to/from William Roberts

 9.    IRS Notices

 10.   New York Life Insurance Company Records

 11.   Various Promissory Notes of William Robers

 12.   Spousal Joinder and Consent

 13.   SLR, LLC Records/Documents

 14.   RBO, LLC Records/Documents
 15.   Any documents identified in exhibit lists by other parties in interest in this
       case.

 Dated: July 7, 2022

                                         Respectfully submitted:

                                         /s/ James William League, III
                                         James William League, III
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                           CERTIFICATE OF SERVICE


        I hereby certify that on this 6th day of July, a copy of the foregoing was filed
 using the CM/ECF electronic filing system, and was served upon the following
 parties/counsel of record by electronic mail and/or by U.S. Mail, postage prepaid:

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                                       /s/James William League, III
                                        OF COUNSEL




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